                        UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division


UNITED STATES OF AMERICA,

            v.                                          Criminal No.: 2:18mj166

WALLACE GODWIN

                  Defendant.

                                          ORDER

       This matter comes before the court on Mr. Godwin’s Unopposed Motion for a

Competency Examination, pursuant to 18 U.S.C. § 4241(a). For the reasons set forth below,

the court GRANTS the Petitioner's Motion.

       The Defendant, having established reasonable cause to believe that he may presently be

suffering from a mental disease or defect, and there being no objection by the United States to

the Defendant's request for examination pursuant to 18 U.S.C. § 4241(a), it is hereby

ORDERED that the Defendant's attorney arrange for an evaluation to take place within thirty

(30) days of the entry date of this Order, at the Defendant's expense, with one of the

physicians listed in the Motion, to determine if the Defendant is "presently suffering from a

mental disease or defect rendering him mentally incompetent to the extent that he is unable

to understand the nature and consequences of the proceedings against him or to assist

properly in his defense." Id. The Defendant’s counsel shall give at least forty-eight hours’

notice of the time and place of the evaluation to the United States Marshals Service and to the

United States Attorney.

       It        is    further   ORDERED       that,     pursuant        to    18    U.S.C.

§ 4247(b), the Defendant shall submit to a psychiatric or psychological examination

and that the report of such examination shall be filed with the court, under seal, pursuant to

the provisions of 18 U.S.C. §§ 4247(b) and (c), with copies of the report, under seal, being

forwarded to the Defendant's attorney, Kirsten R. Kmet, Assistant Federal Public Defender, 150
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 Boush Street, Suite 403, Norfolk, Virginia 23510; and to Alan Mark Salsbury, Assistant United

 States Attorney, 8000 World Trade Center, 101 West Main Street, Norfolk, Virginia 23510.

         Pursuant to 18 U.S.C. § 4247(c), said report shall include:

  ( 1) the Defendant's history and present symptoms; ( 2 ) a description of the psychiatric,

 psychological, and medical tests that were employed and their results; (3) the examiner’s

 findings; and (4) the examiner's opinions as to diagnosis and prognosis, including whether

 the Defendant is suffering from a mental disease or defect rendering him mentally incompetent

 to the extent that he is unable to understand the nature and consequences of the

 proceedings against him or to assist properly in his defense.

        It is further ORDERED that pursuant to the Speedy Trial Act provisions of Title18 U.S.C.

§§ 3161(h)(1)(A) and (D), the time within which an indictment must be filed and the time within

which any trial of such offense must commence is tolled until the Court determines whether the

defendant is competent to stand trial. The Court holds that the time from the filing of the Motion for

a mental examination through the conclusion of the hearing on, or other prompt disposition of, the

Motion is excludable under 18 U.S.C. Sections 3161(h)(1)(A) and (D). The Court further holds that

if a mental examination is ordered, any delay resulting from any proceeding, including any

examinations, to determine the mental competency of the defendant is excludable under 18 U.S.C.

Section 3161(h)(1)(A).

        The Clerk is DIRECTED to send a copy of this Order to counsel for the parties

 and the healthcare provider designated to perform said evaluation.

         It is so ORDERED .
                                                  United States Magistrate Judge


                                                     Date: _________________




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